                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )
                                          )
v.                                        )        No. 3:06-CR-12
                                          )        (JARVIS/GUYTON)
SHANNON MAURICE BROWN,                    )
                                          )
                   Defendant              )



                  ORDER OF DETENTION PENDING TRIAL


            The above-named defendant appeared in custody before the

undersigned on March 27, 2006, for an arraignment and initial appearance on an

indictment. United States Attorney Tracee Plowell was present for the

government and Theodore R. Kern was present on behalf of the defendant. The

government moved for detention pursuant to 18 U.S.C. § 3142(e).

            The defendant is currently serving a term of imprisonment on state

charges, and appeared before this Court on a writ. Counsel for the defendant

announced that the defendant would waive a detention hearing. The defendant

executed the appropriate Waiver of Detention Hearing.

            Accordingly, the defendant is committed to the custody of the

Attorney General or his/her designated representative for confinement in a



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corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal. The defendant shall be

afforded a reasonable opportunity for private consultation with defense counsel.

On order of a court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



             IT IS SO ORDERED.



                                       s/ H. Bruce Guyton
                                       UNITED STATES MAGISTRATE JUDGE




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